]N THE lMTED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOUR_`[

67// ' ' '; ;)E:
Pla.intiff, Petitione or Movant )
‘WY¢?§'§")

) Case No.

v.
341 41 @ grant
"Q_efenda/?}(s) or espond:ys) )

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@7 *""‘# g / _:/.?//€
”’ //?/W 67 fAFFIDAvI IN sUPPORT or REQUEST ro

PROCEED IN FOM PA UPERIS - PRISONER CASES

»H/d/¢S’ §5` ‘
1, ézé/ééz §@;B‘ 2 declare (1) that 1 am the ' 'n this
case; (2) that in support 0 my motion to proceed Without being required to repay fees or costs, I state

that because of my poverty, I am unable to pay the costs of this proceeding; and (3) that I believe I arn
entitled to relief (Note: Prisoners must pay the full filing fee of $35 0.00 in civil rights cases even if they

are granted leave to proceed i_n forma pauperis and even if this case is dismissed at a later time by the
Court. _Sg 28 U.S.C. § 1915 (e)(2) and ln re Tyler, 110 F.3d 528, 529-30 (8th Cir. 1997)(under Prison

Litigation Reform Act, prisoners are responsible for filing fees the moment a civil action is Eled). See
insmlctions provided With this packet.

l. Place of confinement of plaintiffs m -D» d / /:;'/F'/F'V, #¢/G

… __=______

2. Cm;;for which you have been convicted, date and sentence on each:
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j/P;/)Z;. - az// 21 43@/;/ 3 \/¢¢W/ 5~

 

 

 

 

 

/
3. Are you presently employed? Yes __ No 2<
a. If the answer is “Yes,” state the amount of your salary or wages per
month, and give thejme an address of your employer. \
' c
b. If the answer is “no”, state the date of last employment and the amount

of th salary and Wa e per onth hich u received.
/ ‘§5`0 ¢'/`;' %/zf£¢czj 6’#/'/3¢' "" 498 (§A ,/» %¢¢" »'_
'_npAd¢'/?L F/_?v//], % #fM€s'/)/g/:/ c;J/?{

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Have you received, within the past twelve (12) months, money from any of the following
sources?

Yes No
Business, profession of form of self-employment? _ §
Rent payments, interest or dividends? _ _
Pensions, annuities or life insurance payments? _ __X
Gifts or inheritances? ___ _)_<`
Any other sources? ___ 7X

§

If the answer to any of the above is “yes,” describe the source and amo t of money

received from each during the past twelve (12) months.
/

%/`@g )<

Do you own any cas§)r do you have money in a checking or savin c o t? (lnclude
any funds in prison accounts during the last six (6) months.) Yes _ No§

If the answer is “Yes,” state the total amount of cash owned, and the average monthly

balance in all chec ' , savings or pris accounts during the last six (6) months
/ ' ,

Do you own real estate, stocks, bonds, notes, automobiles, jewelry or other-valuable
property (excluding ordinary household furnishings and clothing)? Yes ___ No § >_<

If the answer is “yes,”d/ecribe thwtw:timate value.
49 /\

/€/
if l /
List the persons Who are dependent upon you for support, state your relationship to those

persons, and indicate ho\VCh you contribute toward their support.

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Executed (signed) this& 37 day of M.k) Z.\

I declare under penalty of perjury that the foregoing is true and correctl
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____w_e _____________ team ___.._________________ ____ ____ __ _____________

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\.\RW\_§\\L me__ .._.___..» ___.__w_.__.__m _________K_R\§K___§__________________________

 

 

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